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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )     CR. S-08-376 EJG
12             Plaintiff,                )
                                         )     SUMMARY
13        v.                             )     JUDGMENT OF DECISION
                                         )
14   LEONARD WILLIAMS, et al.,           )
                                         )
15             Defendants.               )
                                         )
16
          Defendant Shane Burreson’s Unopposed Application for Rule 44
17
     Inquiry (the “Application”) came on regularly for hearing before
18
     Senior United States District Court Judge Edward J. Garcia on
19
     August 26, 2011.   See Docket # 252.     Assistant U.S. Attorney
20
     Russell Carlberg appeared on behalf of the United States.
21
     Eduardo Roy of DLA Piper LLP (US) appeared on behalf of defendant
22
     Kesha Haynie, and Matthew Jacobs of DLA Piper LLP (US) appeared
23
     on behalf of defendant Shane Burreson.      Docket # 265.     Defendants
24
     Haynie and Burreson were present in the courtroom.
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          Having considered the Application, the supporting
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     Declaration of Matthew G. Jacobs and the exhibits attached to it,
27
     and having extensively inquired of defendants Haynie and Burreson
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 1   at the hearing, and for the reasons stated in the attached
 2   transcript of the August 26, 2011 hearing, the Court finds no
 3   conflict of interest concerning Mr. Roy’s and Mr. Jacobs’s
 4   representation of defendants Haynie and Burreson, and that if
 5   such a conflict currently exists or arises in the future,
 6   defendants Haynie and Burreson have freely, knowingly,
 7   voluntarily and intelligently waived it.
 8   IT IS SO ORDERED
 9   Date: October 27, 2011           /s/ Edward J. Garcia
10                                    Hon. EDWARD J. GARCIA
                                      United States District Court Judge
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